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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

COACH, INC. and COACH SERVICES,

INC.,
Civil Action No. 2:1 1-cv-14032-PDB-LJM
Plaintiffs,
Hon. Paul D. Borman
Vv. : Hon. Magistrate Judge Laurie J. Michelson

DEQUINDRE PLAZA, L.L.C., MICHAEL
SHOLEM SURNOW, SOON HWA KIM,
ASABOR ALI, and MARJORIE ESTHER
GLOGOWER

Defendant(s).

MICHAEL S. SURNOW AND DEQUINDRE INVESTMENTS, LLC’S ANSWERS TO
COACR’S FIRST INTERROGATORIES, REQUESTS FOR PRODUCTION
AND REQUESTS FOR ADMISSION TO
DEFENDANTS DEQUINDRE PLAZA, L.L.C. AND MICHAEL SURNOW

CERTIFICATE OF SERVICE

 

Pursuant to Fed. R. Civ. Proc. 33, 34 and 36, Plaintiffs Coach, Inc. and Coach Services,

Inc. (collectively, “Coach”) propound the following Requests for Production, Requests for

Admission, and Interrogatories on Defendants Dequindre Plaza, L.L.C., and Michael Surnow.

Responses shall be provided to the offices of Coach’s attorney at the address below within
30 days.

INSTRUCTIONS

A. These interrogatories and production requests are deemed to be continuing in

nature and should you, your counsel, or anyone representing your interest, acquire any additional

knowledge or information which affects the accuracy or completeness of any answer which

relates to the matter, such knowledge and information must be transmitted to the Plaintiffs’

 
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attorney by way of supplemental answers. Failure to supplement an answer within a reasonable
time can subject a party to sanctions. Furthermore you are under a similar duty to correct any
incorrect response when you later learn that it is incorrect.

B. The information sought in these discovery requests includes all information
available to you or subject to reasonable inquiry by you, including information in the possession
of you, your agents, representatives, employees, insurers and attorneys. Regardless of the
manner in which these interrogatories are addressed and regardless of their form, your answers
are to include all information available to you, your attorneys and/or their representatives.

i If a discovery request has subparts, answer each subpart separately and in full,
and do not limit the answer to the interrogatory as a whole. If an interrogatory or its subpart
cannot be answered in full, answer to the extent possible and specify the reason for the inability
to answer the remainder, stating whatever information and knowledge you have regarding the
unanswered portion.

D. Each discovery request shall be construed independently. No discovery request

shall be construed by reference to any other for the purpose of limiting the response to such

interrogatory.
E. An evasive or incomplete answer is deemed to be a failure to answer.
F, Information claimed to be privileged or work product. In the event Defendants

object to providing any information requested in the discovery requests on the grounds that it is
privileged or work product, provide the following:
(1) state the nature of the privilege or doctrine you claim protects the

information requested;

(2) if the objection is in regard to a communication that is not a document:

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(a) identify, as defined in the [

communication; and

(b) identify, as defined in the

each and every person to whom the subs

disclosed.

G If you objected to any discovery request, ot

annoyance, embarrassment, oppression, or undue burde
which you rely as the basis for your objection.

DEFINITIONS

A. “Document” is used in the broadest sense

cation or data storage however produced or reproduced,

ment” shall mean, without limitation, any data or inform

including all written, printed, typed, photostatic, photog

duced communications, data compilations, or representati

of letters, words, numbers, pictures, sounds, or symbols,

ical, electronic, magnetic, photographic, or other mean

recordings of communications, oral statements, conversé

electronically, in any form, is expressly included.

B.

(1) When used in reference to a docume
(a) its date and type (letter, mem
(b) the name and address of its ¢

and address of his or her current employer(s

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a

“Identify” and “identifying” has the followit

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)efinitions section of this document, the

Definitions section of this document,

stance of the communication has been

any portion thereof, on the grounds of

n or expense, set forth all facts upon

and refers to any form of communi-
whether or not it now exists. “Docu-
\ation recorded in any form whatever,
raphed, recorded, or otherwise repro-
ons of every kind, whether comprised
whether prepared by manual, mechan-
s, as well as audio, video or other
itions, or events. Information stored
hg meanings:

nt, it means to state:

orandum or other form);

vuthor(s) or preparer(s); and the name

 
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(c) the name and address of th
addressed or was submitted; and the nat
employer(s);
(d)
(e) the number of pages, with e
is present being considered a separate page
(f) the document=s present loc
custodian(s); and the name and address of h
(2)
(a)

(b)

the person=s full name;
the person=s last known
telephone number, and

(c)
telephone number.
(3)

When used in reference to any enti

means to state:

(a)
(b) the entity=s last known addre
(c) the state in which the entity h

(4)
means to state:
(a)
(b)

the place where the communi

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When used in reference to a comm

the date of the communicatiot

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ie person(s) to whom the document is

me and address of his or her current

a brief description of the subject matter or topic of the document:

ach side on which any written material

ation and the name and address of its

is or her current employer(s).

When used in reference to an individual person, it means to state:

residential address and residential

the person=s last known employer, business address and business

ty other than an individual person, it

the entity=s full name and nature (e.g. corporation);

ss and telephone number; and
as its principal place of business.

wunication that is not a document, it

nh;

cation occurred;

 
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(c) the type of communication (e.g. telephone conversation or in-
person meeting);

(d) the content of the communication;

(e) the name, residential and business addresses and telephone
numbers of all of the parties to the communication; and

(f) the name, residential and business addresses and telephone
numbers of all others who participated in or witnessed the communication.

C. “Handbag” or “Handbags” shall not mean grocery bags or other bags provided
free to customers to carry their purchases.

D. “Marked Products” means articles, accessories, or products of any type (including
but not limited to handbags, wallets, eyewear, footwear, and watches) bearing the name “Coach”
or any of the Marks at Issue.

E. “Marks at Issue” means any and all marks (including trademarks, trade dresses or
copyrights) described in the Complaint, or any marks confusingly similar thereto.

F. “Plaintiffs” means the plaintiffs in this case, both individually and collectively, as
well as their officers, directors, shareholders, predecessors or successors in interest, affiliates,
subsidiaries, agents, employees, or any other person acting or purporting to act on their behalf.

G. “You” means Dequindre Plaza, L.L.C., its officers, directors, members,
shareholders, predecessors or successors in interest, affiliates, subsidiaries, agents, employees, or
another other person acting or purporting to act on its behalf.

H. “Soon Hwa Kim” means Defendant Soon Hwa Kim individually and any of her
current or former employees, agents, attorneys, or anyone else acting on her behalf. This term

shall also include any entities owned and/or operated by Defendant Kim as well as their officers,

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directors, shareholders, predecessors or successors in interest, affiliates, subsidiaries, agents,
employees, or any other person acting or purporting to act on their behalf.

I. “Asabor Ali” means Defendant Asabor Ali individually and any of his current or
former employees, agents, attorneys, or anyone else acting on his behalf. This term shall also
include any entities owned and/or operated by Defendant Ali as well as their officers, directors,
shareholders, predecessors or successors in interest, affiliates, subsidiaries, agents, employees, or
any other person acting or purporting to act on their behalf.

J. “Marjorie Glogower” means Defendant Marjorie Glogower individually and any
of her current or former employees, agents, attorneys, or anyone else acting on her behalf. This
term shall also include any entities owned and/or operated by Defendant Glogower as well as
their officers, directors, shareholders, predecessors or successors in interest, affiliates,

subsidiaries, agents, employees, or any other person acting or purporting to act on their behalf.

H. “County Line Flea Market” shall mean the market operated at 20900 Dequindre,
Warren, Michigan 48091.
L “Vendor(s)” shall mean any individual(s) and/or entity or entities that have been

authorized to sell products at County Line Flea Market.
INTERROGATORIES

1. State the date on which vendor(s) began selling Marked Products from County

Line Flea Market. If such date is not known, state the date on which you became aware of such

sales.

ANSWER: We did not learn that any vendor’s were allegedly selling Marked Products

until receipt of the November 17, 2010 letter from Coach, however, Coach did not identify

which vendors were selling Marked Products and we were not made aware of actual
possession of Marked Products until July 8, 2011.

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2, State the date on which vendor(s) began selling counterfeit goods from County
Line Flea Market. If such date is not known, state the date on which you became aware of such

sales.
ANSWER: We do not know the date when vendors began selling counterfeit goods at the
Flea Market. In 1997 Dequindre was informed that one of the gold dealers was allegedly
selling Disney gold jewelry without a trademark. He was confronted and informed that if
he did not immediately stop selling such items he would be evicted. The dealer stopped
selling Disney jewelry and is area has since had a sign stating that he does not sell Disney
jewelry.
a Identify the number of (a) Marked Products and (b) counterfeit goods that vendors
at County Line Flea Market have sold or otherwise distributed on a monthly basis during the last
five years.

ANSWER: Unknown.

4, Identify the vendors at County Line Flea Market who have sold or otherwise
distributed (a) Marked Products or (b) counterfeit goods during the last five years.
ANSWER: Unknown, except for the three defendants, Kim, Ali and Glogower who
Plaintiffs allege is selling such products, however, we have no personal knowledge that is
the case.
3: Identify all your agents and/or employees who, during the last 36 months, have
had responsibility for any of the following tasks. If any of these individuals no longer work for

you, please so state.

* Inspecting and/or keeping records related to products offered for sale at County
Line Flea Market.

° Advertising for County Line Flea Market.

¢ Entering into leases with vendors and/or collecting rent or other monies from
vendors.

* Receiving and/or responding to correspondence addressed to County Line Flea
Market.

¢ Managing the daily operations of County Line Flea Market.

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* Serving as security at County Line Flea Market.
* Communicating with vendors regarding the sale of counterfeit merchandise.

ANSWER: None. Dequindre leases the entire Flea Market building to Westwood Partners
Il, LLC (“Westwood”), who in turn operates the Flea Market and leases stalls to vendors
on a weekly basis. Dequindre does not perform any of the above functions. However, Terry
Bingham on behalf of Westwood performs all of the above functions, except for security
which is provided by the following persons:

Warwick Grundy
2648 Clements
Detroit, MI 48238
Denise Hill
18134 Russell
Detroit, MI 48203
Malachi Jackson
3644 Buckingham
Detroit, MI 48224
6. At any time, have you possessed any Marked Products? If so, describe such
products and state where such products may be found today.
ANSWER: No.

7. Identify all legal actions which have been brought against you during the past five

years, whether civil, criminal or otherwise.

 

ANSWER: As to Dequindre, None that we can recall. There may have been a slip and
fall lawsuit but we do not recall if a lawsuit occurred.

As to Surnow, Royal Management Company, et. al. v. Orchard Pine
Investments, LLC and Michael Surnow, Case No. 10-112697-CH, Sixth Circuit Court for
the State of Michigan; and Marilyn Surnow v. Michael Surnow, et al. Case No. 2011-
123896-NZ, Sixth Circuit Court for the State of Michigan.

8. Identify all businesses or business entities in which you have held any interest

during the previous five years.
ANSWER: _ As to Dequindre, None.

As to Surnow, Objection. This information is privileged and confidential and
it will not be disclosed without an acceptable protective order.

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9, Identify each and every communication between you and any vendor(s) at County
Line Flea Market regarding the purchase, sale or distribution of counterfeit goods. Specifically,

state who you spoke to, the method of the communication, the substance of the communication,

and the date of the communication.

ANSWER: We have never had direct communication with any vendor all communication
is through Westwood and except for the attached documents marked as DEQ-0001-00014
these defendants are not able to identify specific communication. However, after receipt of
Coach’s letter of November 17, 2010, Mr. Bingham on behalf of Westwood delivered copies
of the letter to every vendor that sold purses and told them to remove any and all illegal
merchandise from the market or be subject to eviction. As stated above, in 1997 Dequindre
was informed that one of the gold dealers was allegedly selling Disney gold jewelry without
a trademark. He was confronted and informed that if he did not immediately stop selling
such items he would be evicted. The dealer stopped selling Disney jewelry and is area has
since had a sign stating that he does not sell Disney jewelry. In 2006, Westwood learned
that a dealer was making and selling counterfeit CD's and he was confronted by Mr.
Bingham and evicted from the Flea Market. In 2008, it was discovered that a vender was
selling counterfeit Nike shoes, he was confronted and agreed to remove the illegal
merchandise from the Flea Market.

10. Identify each and every time you received written correspondence or documents
related to sale or distribution of counterfeit goods at County Line Flea Market.

ANSWER: To the best of our recollection we received two correspondences, one on August
19, 2011 from Chanel, Inc. and the other on November 17, 2010 from Coach.

11. Identify each and every communication between you and any manufacturer(s) or
designer(s) regarding the purchase, sale or distribution of counterfeit goods. Specifically, state
who you spoke to, the method of the communication, the substance of the communication, and
the date of the communication.

ANSWER: No oral communication.

12. Identify each and every communication between you and any customer(s) of

County Line Flea Market regarding the purchase, sale or distribution of counterfeit products.

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Specifically, state who you communicated with and th

communication.
ANSWER: None.

13. Identify all persons who furnished inform

responding to these discovery requests.

ANSWER: _ Terry Bingham
15462 Haverhill
Macomb Township, Michigan 48044

586-615-6882

Michael Surnow

320 Martin Street, Suite 100
Birmingham, Michigan 48009
248-865-3000

14. —_ Identify all email addresses used or owned

ANSWER:  Dequindre, None.
Michael Surnow, Michaecl@surnow.com

15.

during the past five years? If so, identify all parties to the

transferred.
ANSWER: No.
16. Identify all communications that you have

attorneys, regarding the allegations of the Complaint.
ANSWER: None.
17. Identify all members, officers, and/or dire

the previous five years.

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Has there been any transfer of ownership

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e method, substance, and date of the

ation or documents for the purpose of

by you.
and msurnew@sbeglobal.net
interest in Dequindre Plaza, L.L.C.

transaction(s) and describe the interest

had with any party, other than your

ctors of Dequindre Plaza, L.L.C. over

 
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ANSWER: The members of Dequindre are Jeffrey C
Trust Agreement Dated 4/17/91 and Michael S. Surn

Surnow, Trustee Under Revocable

ow, Trustee Under Revocable Trust

Agreement Dated 6/11/91, as amended, both addresses are 320 Martin, Suite 100,

Birmingham, Michigan 48009, Telephone No. 248-865-
18. Do you have any reason to believe tha
Complaint was licensed, manufactured or designed by Co
belief and identify all evidence, including testimony an

based.
ANSWER: We do not know one way or the other.
REQUESTS FOR PRODU

l. All documents or things that were used or o
of your responses to Plaintiffs’ Interrogatories or Requests
ANSWER: See the attached documents marked DEQ-0

as All documents or things evidencing the
resale of Marked Products from any vendors at County Lin
ANSWER: None.

3.
and/or Michael Surnow and Soon Hwa Kim.
ANSWER: None.

4,
and/or Michal Surnow and Marjorie Glogower.
ANSWER: None.

5. All leases and/or other agreements entered i

and/or Michal Surnow and Asabor Ali.

ANSWER: None.

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All leases and/or other agreements entered i

All leases and/or other agreements entered i

3000.

t the merchandise referenced in the

ach? If so, describe the basis for this

d documents, on which this belief is

CTION

therwise relied upon in the preparation

for Admission.

0001-00014.

possession, purchase, distribution or

e Flea Market.

nto between Dequindre Plaza, L.L.C.,

nto between Dequindre Plaza, L.L.C.,

nto between Dequindre Plaza, L.L.C.,

 

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6. All documents which reflect the profits and revenues you received from the sale
or distribution of the Marked Products during the last 36 months.

ANSWER: None.

a, All documents identifying the persons or entities from which vendors of County
Line Flea Market purchased the Marked Products during the last 36 months.

ANSWER: None.

8. All documents or things evidencing communications with vendors related to the
purchase, sale or distribution of counterfeit products.
ANSWER: See the attached documents, DEQ-0001-0009 and DEQ-00013-00014. These
documents include signs on the building premises and communications that were made
between Westwood and vendors that are in written form.

9. All documents or things evidencing communications with customers related to the
purchase, sale or distribution of counterfeit products.
ANSWER: None.

10. All documents or things evidencing communications between you and any other
defendant in this case.
ANSWER: None.

11. All documents pertaining to other legal proceedings in which you were involved
concerning trademark infringement, copyright infringement and/or counterfeiting.

ANSWER: None.

12. All documents regarding any accusations of trademark and/or copyright in-
fringement, including, but not limited to the receipt of cease and desist letters, directed toward
you, regardless of the date on which such documents were authored or transmitted.

ANSWER: See DEQ-00010-11 and DEQ-00013-14 from Chanel and Coach.

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13. Your tax returns filed for the previous three years and any amendments or
supplements thereto.

ANSWER: Objection. This information is confidential and privileged and it will not be
provided without an appropriate protective order.

14. Documents sufficient to identify all bank accounts, investment accounts, savings
accounts, or any other account into which profits from the sale of Marked Products may be
placed.
ANSWER: None.

15. Documents related to any transfer of ownership interest in Dequindre Plaza,
L.L.C. during the past five years.
ANSWER: None.

REQUESTS FOR ADMISSION

l. Admit that Michael Surnow is the sole member of Dequindre Plaza, L.L.C.
ANSWER: Deny. There are two members of Dequindre, Jeffrey C. Surnow, Trustee Under
Revocable Trust Agreement Dated 4/17/91 and Michael S. Surnow, Trustee Under
Revocable Trust Agreement Dated 6/11/91, as amended.

2. Admit that one or more vendor(s) at the County Line Flea Market sold Marked
Products.
ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

3; Admit that one or more vendor(s) at the County Line Flea Market offered for sale
Marked Products.
ANSWER: This request is neither admitted nor denied because these defendants do not

have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;

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b

and, the information cannot be readily obtained from the other defendants because these

defendants do not communicate with defendants Kim.
adverse to those of these defendants.

4. Admit that one or more vendor(s) at the C

Marked Products before you received Coach’s November

ANSWER: This request is neither admitted nor den
have any knowledge or information regarding the san
to any information regarding these claims other than
and, the information cannot be readily obtained from
defendants do not communicate with defendants Kim,
adverse to those of these defendants.

2 Admit that one or more vendor(s) at the Co
Marked Products between the time you received Coach’

and July 8, 2011.

ANSWER: This request is neither admitted nor deni

Ali or Glogower, who have interests

punty Line Flea Market offered for sale

17, 2010 correspondence.

ed because these defendants do not

ne. These defendants have no access
1 the allegations made by Plaintiffs;

the other defendants because these
Ali or Glogower, who have interests

unty Line Flea Market offered for sale

s November 17, 2010 correspondence

ed because these defendants do not

have any knowledge or information regarding the same. These defendants have no access

to any information regarding these claims other than

and, the information cannot be readily obtained from
defendants do not communicate with defendants Kim,
adverse to those of these defendants.

6. Admit that one or more vendor(s) at the Co

Marked Products between July 8, 2011 and September 15,

ANSWER: This request is neither admitted nor deni
have any knowledge or information regarding the sam

to any information regarding these claims other than
and, the information cannot be readily obtained from
defendants do not communicate with defendants Kim,
adverse to those of these defendants.

hh

Marked Products after September 15, 2011.

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Admit that one or more vendor(s) at the Cot

the allegations made by Plaintiffs;
the other defendants because these
Ali or Glogower, who have interests

unty Line Flea Market offered for sale
2011.

-d because these defendants do not
e. These defendants have no access
the allegations made by Plaintiffs;
the other defendants because these
Ali or Glogower, who have interests

4

inty Line Flea Market offered for sale

 

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ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

8. Admit that you knew that one or more vendor(s) at County Line Flea Market
offered for sale Marked Products prior to your receipt of Coach’s November 17, 2010
correspondence.
ANSWER: Denied.

9. Admit that you knew that one or more vendor(s) at County Line Flea Market was
offering for sale Marked Products between the time you received Coach’s November 17, 2010
correspondence and July 8, 2011.
ANSWER: Denied.

10. Admit that you knew that one or more vendor(s) at the County Line Flea Market

was offering for sale Marked Products between July 8, 2011 and September 15, 2011.

ANSWER: Denied.

il, Admit that you knew that one or more vendor(s) at the County Line Flea Market
offered for sale Marked Products after September 15, 2011
ANSWER: Denied.

12. Admit that you received a letter dated November 17, 2010 from Coach stating in
part, “This letter gives you formal notice that the illegal trafficking of counterfeit merchandise
bearing one or more of the federally registered trademarks of Coach has been taking place at,
20900 Dequindre, Warren, MI 48089, a flea market which you own, by tenants who present

lease and use the premises.”

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ANSWER: Admitted.

13. Admit that after receiving the November 1
Flea Market took no measures to prevent vendors from o
to September 15, 2011.
ANSWER: Denied. When the letter from Coach was r

same were given by Westwood to every vendor that sol
that if they had any illegal merchandise that they were

14. Admit that after receiving the November 1

vendor(s) at County Line Flea Market offered for sale Mar

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7, 2010 letter from Coach, County Line

ffering for sale Marked Products prior

eceived, copies were made and the
d purses and they were informed

to remove it from the Flea Market.

7, 2010 letter from Coach, one or more

ked Products.

ANSWER: This request is neither admitted nor denied because these defendants do not

have any knowledge or information regarding the san
to any information regarding these claims other than
and, the information cannot be readily obtained from
defendants do not communicate with defendants Kim,
adverse to those of these defendants.

15. Admit that after receiving the November 1
investigate the authenticity of the Marked Products that
offered for sale prior to July 8, 2011.
ANSWER: Denied. When the letter from Coach was re
same was given to every vendor that sold purses and th
and all illegal merchandise from the market.
16.
Police Department.
ANSWER: Admitted.
17. Admit that the July 8, 2011 raid of the Co

Police Department resulted in the seizure of merchandise.

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Admit that on July 8, 2011, County Line F

ne. These defendants have no access
the allegations made by Plaintiffs;
the other defendants because these
Ali or Glogower, who have interests

7, 2010 letter from Coach, you did not

vendors at County Line Flea Market

ceived, copies were made and the
ey were informed to remove any

lea Market was raided by the Warren

unty Line Flea Market by the Warren

 
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ANSWER: Admitted.

18. Admit that of the products seized during July 8, 2011 raid of the County Line Flea
Market by the Warren Police Department, a number bore one or more of the Marks at Issue.
ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

19. Admit that prior to the July 8, 2011 raid of the County Line Flea Market by the
Warren Police Department, you had no measures in place to prevent vendors from offering for
sale counterfeit items.

ANSWER: Denied. Dequindre’s tenant, Westwood, repeatedly informed vendors both oral
and in written form that they are forbidden to offer for sale counterfeit items as evidenced
by documents DEQ-0001-0009; and after receipt of Coach’s letter of November 17, 2010,
Mr. Bingham on behalf of Westwood delivered copies of the letter to every vendor that sold

purses and told them to remove any and all illegal merchandise from the market or be
subject to eviction.

20. Admit that Soon Hwa Kim was authorized to sell products at County Line Flea
Market prior to September 15, 2011.

ANSWER: Admitted.

21. Admit that Dequindre Plaza, L.L.C. has collected rents from Soon Hwa Kim.
ANSWER: Denied. Westwood collected rents from Kim.
22. Admit that Soon Hwa Kim offered to sell Marked Products from her stall at
County Line Flea Market.

ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access

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to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

23. Admit that as a result of the July 8, 2011 raid of the County Line Flea Market by

the Warren Police Department, a number of Marked Products were seized from Defendant Kim’s
stall.

ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

24. Admit that Asabor Ali was authorized to sell products at County Line Flea Market

prior to September 15, 2011.
ANSWER: Admitted.

25, lected rents from Asabor Ali.

Admit that Dequindre Plaza, L.L.C. has col
ANSWER: Denied. Westwood collected rents from Ali.

26. Admit that Asabor Ali offered to sell Marked Products from a stall at County Line
Flea Market.

ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access

to any information regarding these claims other than
and, the information cannot be readily obtained from
defendants do not communicate with defendants Kim,
adverse to those of these defendants.

27. Admit that as a result of the July 8, 2011 ra

the allegations made by Plaintiffs;
the other defendants because these

Ali or Glogower, who have interests

id of the County Line Flea Market by

the Warren Police Department, a number of Marked Products were seized from Defendant Ali’s

stall.

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ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

28. Admit that Marjorie Glogower was authorized to sell products at County Line
Flea Market prior to September 15, 2011.
ANSWER: Admitted.

29. Admit that you have collected rents from Marjorie Glogower.

ANSWER: Denied. Westwood collected rents from Glogower.

30. Admit that Marjorie Glogower offered to| sell Marked Products from a stall at
County Line Flea Market.
ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

31. Admit that as a result of the July 8, 2011 raid of the County Line Flea Market by
the Warren Police Department, a number of Marked Products were seized from Defendant
Glogower’s stall.
ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these

defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

32. Admit that you have collected rents from vendors who sold Marked Products.

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ANSWER: Deny. Westwood collected rents.

33. | Admit that you did not investigate the auth
County Line Flea Market offered for sale prior to July 8, 2

ANSWER: Denied. We do not have the knowledge o

enticity of the products that vendors at
O11.

r expertise to distinguish a genuine

Marked Product from a counterfeit. However, when we have been informed that vendors

or selling counterfeit products we have taken app
occurrences.

34. Admit that you did not investigate the auth
County Line Flea Market offered for sale after July 8, 201

ANSWER: Denied. We do not have the knowledge o

ropriate steps to stop any further

enticity of the products that vendors at
L

r expertise to distinguish a genuine

Marked Product from a counterfeit. However, when we have been informed that vendors

or selling counterfeit products we have taken appt

occurrences,

35.
one or more of the Marks at Issue.

ANSWER: Denied.

36.

Admit that you received monies for the sa

Admit that you have communicated with

ropriate steps to stop any further

ile of Marked Products that displayed

the manufacturer(s) of the Marked

Products sold by vendors at County Line Flea Market about the allegations of the Complaint.

ANSWER: Denied.

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iP

Products sold by vendors at County Line Flea Market abou

ANSWER: Denied.
38.

Products.

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Admit that you have communicated wit

Admit that you have never been licensed t

h the distributors(s) of the Marked

t the allegations of the Complaint.

9 sell or display for sale any Marked

 

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ANSWER: Admitted.

39. Admit that Coach has not manufactured any products that vendors at County Line
Flea Market have offered for sale. If you deny this Request for Admission, state the basis for
your belief that the products were manufactured by Coach
ANSWER: This request is neither admitted nor denied because these defendants do not
have any knowledge or information regarding the same. These defendants have no access
to any information regarding these claims other than the allegations made by Plaintiffs;
and, the information cannot be readily obtained from the other defendants because these
defendants do not communicate with defendants Kim, Ali or Glogower, who have interests
adverse to those of these defendants.

40. Admit that you have not communicated with customers regarding the sale of
alleged counterfeit products from County Line Flea Market.
ANSWER: Admitted.

41. Admit that you have offered no refunds to customers for the sale of alleged
counterfeit products from County Line Flea Market.

ANSWER: Admitted.

I DECLARE THAT THE STATEMENTS ABOVE ARE TRUE TO THE BEST OF MY
INFORMATION, KNOWLEDGE, AND BELIEF.

 

Michael Surnow, individfally on behalf of —
Dequindre Investments, LLC

On this &5 day of February, 2012, before me, a Notary Public, personally appeared Michael Surnow to me known
to be the person described in who executed this document and acknowledge the same to be his free act and Deed.

Cy el beta — SAMUEL E, HARTMAN
_ Notary Public, State of Michigan

7 My C mabe Epes Mar 2 fl
ly Commission Expires Mar. 29, 2017
—___, County J Acting in the County of oduct ana

 

 

 

Notary Public
Acting in Oakland County
My Commission Expires _

 

 

 

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Respectfully sugmitted,

Jay N. Siefnfan
Attorney for\Dequindre and Surnow
320 Martin Street, Suite 120

Birmingham, Michigan 48009
248-851-2288
jay@siefman.com

Sigler

 

Certificate of Service

The undersigned certifies that on February 2%, 2012 a
served on the attorneys of record or the unrepresented

copy of the foregoing pleading was
parties, to the above cause, at their

respective addresses as disclosed by the pleadings of record, by one or more of the means

checked off below.

< First Class Mail, Postage Prepaid
[ ] Fax Transmission

[ | Hand Delivery

[ ] Overnight Delivery

I declare under penalty of perjury that the statement above
information and belief.

Jay N. Stefmar)

 

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> is true to the best of my knowledge,

 
